         Case 1:14-mc-00035-MCA Document 10 Filed 05/18/17 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


MISCELLANEOUS NO.: 14-MC-35 MCA

IN RE: $183,070.00 IN UNITED STATES CURRENCY

           UNITED STATES’ RESPONSE TO ORDER TO SHOW CAUSE AND
           RULE 41(a)(2) MOTION FOR DISMISSAL WITHOUT PREJUDICE

       Pursuant to 18 U.S.C. § 983(a)(3)(A), the United States and Claimant Vito Didonato

jointly filed motions to extend the time in which the United States is required to file a complaint

against the above property and/or to obtain an indictment that the above property is subject to

forfeiture. This Court ordered extensions for the United States to file a complaint for forfeiture

and/or obtain an indictment alleging that the property is subject to forfeiture to October 10, 2014,

November 10, 2014, January 9, 2015, and lastly to March 10, 2015.

       The parties have resolved this case. Therefore, there is no further need for this matter to

remain pending on the docket.

           WHEREFORE the United States respectfully requests that the Court enter an order

dismissing without prejudice this action, pursuant to Fed.R.Civ.P. 41(a)(2).

                                                      Respectfully submitted,

                                                      JAMES D. TIERNEY
                                                      Acting United States Attorney

                                                      Electronically filed May 18, 2017
                                                      STEPHEN R. KOTZ
                                                      Assistant U.S. Attorney
                                                      P.O. Box 607
                                                      Albuquerque, NM 87103
                                                      (505) 346-7274
        Case 1:14-mc-00035-MCA Document 10 Filed 05/18/17 Page 2 of 2




                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I filed the foregoing pleading electronically through the CM/ECF
system, which caused the parties or counsel to be served by electronic means, as more fully
reflected in the Notice of Electronic Filing;

       /s/
STEPHEN R. KOTZ
Assistant U.S. Attorney




                                               2
